             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 1 of 35




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


AMY KOFORD, ADAM D. KOFORD,                              CIVIL ACTION

                      Plaintiffs,                        Case No.

v.

BOSTON SCIENTIFIC CORPORATION,

                      Defendant.


                                    COMPLAINT AND JURY DEMAND

            Plaintiffs, Amy and Adam D. Koford, by and through their undersigned counsel, bring

this action for damages against Defendant, Boston Scientific Corporation, and allege as follows:

     I.     PARTIES

            A.     Plaintiffs

            1.     Plaintiffs, Amy and Adam D. Koford, are citizens of Farmington, Davis County,

Utah.

            B.     Defendant

            2.     Defendant Boston Scientific Corporation (“Boston Scientific”) is a corporation

organized and existing under the laws of the State of Delaware, with its corporate headquarters in

Massachusetts.

            3.     Defendant, Boston Scientific, is a corporation organized and existing under the

laws of the United States maintaining its principal place of business at 300 Boston Scientific

Way, Marlborough, MA 01752-1234.

            4.     All acts and omissions of the above-referenced Defendant as described herein

were done by its agents, servants, employees, and/or owners, acting in the course and scope of




1873646.1                                          -1-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 2 of 35



their respective agencies, services, employments, and/or ownership.

II.         JURISDICTION AND VENUE

            5.   This Court has subject matter jurisdiction over the parties pursuant to 28 U.S.C.

§1332(a) because the parties are citizens of different states and the amount in controversy

exceeds $75,000.00, exclusive of interest and cost.

            6.   Venue for this action lies in the United States District Court of Massachusetts,

because the Defendant resides in this District and the wrongful acts upon which this lawsuit is

based occurred, in part, in this District. Venue is also proper pursuant to 28 U.S.C. §1391(c)

because Defendant has substantial, systematic, and continuous contacts in the District of

Massachusetts, and it is subject to personal jurisdiction in this District.

III.        DEFENDANT’S PELVIC MESH PRODUCTS

            7.   At all times material to this action, Defendant has designed, patented,

manufactured, packaged, labeled, marketed, sold, and distributed a line of pelvic mesh products,

which are delineated below. These products were designed primarily for the purposes of treating

stress urinary incontinence and pelvic organ prolapse. Each of these products was cleared for

sale in the United States after the Defendant made assertions to the Food and Drug

Administration of “Substantial Equivalence” under Section 510(k) of the Food, Drug and

Cosmetic Act; this clearance process does not require the applicant to prove safety or efficacy,

One or more of Defendant’s pelvic mesh products was implanted in Plaintiff.

            8.   The products include those known as Uphold Vaginal Support System, Pinnacle

Pelvic Floor Repair Kit, Advantage Transvaginal Mid-Urethral Sling System, Advantage Fit

System, Lynx Suprapubic Mid-Urethral Sling System, Obtryx Transobturator Mid-Urethral Sling

System, Prefyx PPS System, Solyx SIS System, as well as any variations of these products and

any unnamed Boston Scientific pelvic mesh product designed and sold for similar purposes,



1873646.1                                         -2-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 3 of 35



inclusive of the instruments and procedures for implementation.

            9.    These products are collectively referenced as Defendant’s “Pelvic Mesh

Products” or “Products.”

IV.         FACTUAL BACKGROUND

            10.   At all relevant times, Defendant was in the business of developing, designing,

licensing, manufacturing, distributing, selling, marketing, advertising, and delivering, and

introducing into interstate commerce, including, inter alia, within the United States, either

directly or indirectly through third parties, subsidiaries or related entities, Pelvic Mesh Products.

            11.   At all relevant times, Pelvic Mesh Products were used to treat pelvic organ

prolapse and stress urinary incontinence.

            12.   A pelvic organ prolapse occurs when a pelvic organ, such as the bladder, drops

(“prolapses”) from its normal position and pushes against the walls of the vagina. Prolapse can

happen if the muscles that hold the pelvic organs in place become weak or stretched from

childbirth or surgery. More than one pelvic organ can prolapse at the same time. Organs that can

be involved in a pelvic organ prolapse include the bladder, the uterus, the bowel and the rectum.

            13.   Stress urinary incontinence is a type of incontinence characterized by leakage of

urine during moments of physical stress.

            14.   Surgical mesh, including mesh used in Pelvic Mesh Products, is a medical device

that is generally used to repair weakened or damaged tissue. It is made from porous absorbable

or non-absorbable synthetic material or absorbable biologic material. In urogynecologic

procedures, surgical mesh is permanently implanted to reinforce the weakened vaginal wall to

repair pelvic organ prolapse or to support the urethra to treat urinary incontinence. Most Pelvic

Mesh Products are comprised of non-absorbable, synthetic, monofilament polypropylene mesh

and/or collagen.



1873646.1                                         -3-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 4 of 35



            15.   Despite claims that polypropylene mesh is inert, the scientific evidence shows that

this material as implanted in the Plaintiff is biologically incompatible with human tissue and

when used as a woven or knitted alloplastic textile prosthetic mesh for pelvic floor repair,

polypropylene and other surgical polymers promote a severe foreign body reaction and chronic

inflammatory response in a large subset of the population implanted with Defendant’s Pelvic

Mesh Products. This “host defense response” by a woman’s pelvic tissues promotes degradation

of the polypropylene mesh and the pelvic tissue, and causes chronic inflammation of the pelvic

tissue, shrinkage or contraction of the mesh leading to nerve entrapment, further inflammation,

chronic infectious response and chronic pain. It also can cause new-onset painful sexual

relations, significant urinary dysfunction, vaginal shortening and anatomic deformation, and can

contribute to the formation of severe adverse reactions to the mesh.

            16.   Furthermore, Defendant’s Pelvic Mesh Products containing collagen cause hyper-

inflammatory responses leading to problems including chronic pain and fibrotic reaction.

Defendant’s collagen-containing Products disintegrate after implantation into the female pelvis.

The collagen-containing Products cause adverse tissue reactions, and are causally related to

infection, as the collagen is a foreign organic material. Cross linked collagen is harsh upon the

female pelvic tissues. It hardens the body.

            17.   When these Pelvic Mesh Products are inserted in the female body according to the

manufacturers’ instructions, it creates a non-anatomic condition in the pelvis leading to chronic

pain and functional disabilities.

            18.   In 1996, the FDA cleared the first Pelvic Mesh Products for use in the treatment

of stress urinary incontinence (SUI). These products include Products manufactured, marketed,

and distributed by Defendant. These products are approved by the FDA under the abbreviated




1873646.1                                         -4-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 5 of 35



510(k) approval process. Section 510(k) provides for marketing of a medical device if the device

is deemed “substantially equivalent” to other predicate devices marketed before May 28, 1976.

No formal review for safety or efficacy is required, and no formal review for safety or efficacy

was ever conducted with regard to the Pelvic Mesh Products.

            19.   On July 13, 2011, the FDA issued a new warning regarding serious complications

associated with Pelvic Mesh Products, such as the Products manufactured, marketed, and

distributed by Defendant. In this warning, the FDA indicated that “serious complications

associated with surgical mesh for transvaginal repair of POP are not rare.” (emphasis in the

original). The FDA had also received increased reports of complications associated with the

Pelvic Mesh Products used in both pelvic organ prolapse and stress urinary incontinence cases.

            20.   The FDA Safety Communication also stated, “Mesh contraction (shrinkage) is a

previously unidentified risk of transvaginal POP repair with mesh that has been reported in the

published scientific literature and in adverse event reports to the FDA ... Reports in the literature

associate mesh contraction with vaginal shortening, vaginal tightening and vaginal pain.”

(Emphasis in original).

            21.   The FDA Safety Communication further indicated that the benefits of using

Pelvic Mesh Products instead of other feasible alternatives did not outweigh the associated risks.

Specifically, the FDA Safety Communication stated: “it is not clear that transvaginal POP repair

with mesh is more effective than traditional non-mesh repair in all patients with POP and it may

expose patients to greater risks.”

            22.   Contemporaneously with the Safety Communication, the FDA released a

publication titled “Urogynecologic Surgical Mesh: Update on the Safety and Effectiveness of

Transvaginal Placement for Pelvic Organ Prolapse” (the “White Paper”), In the White Paper, the




1873646.1                                        -5-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 6 of 35



FDA noted that published, peer-reviewed literature demonstrates that “[p]atients who undergo

POP repair with mesh are subject to mesh-related complications that are not experienced by

patients who undergo traditional surgery without mesh.”

            23.   The FDA summarized its findings from its review of the adverse event reports

and applicable literature stating that it “has NOT seen conclusive evidence that using

transvaginally placed mesh in POP repair improves clinical outcomes any more than traditional

POP repair that does not use mesh, and it may expose patients to greater risks,” (Emphasis in

original).

            24.   The White Paper further stated that “these products are associated with serious

adverse events…. Compounding the concerns regarding adverse events are performance data that

fail to demonstrate improved clinical benefit over traditional non-mesh repair,” In its White

Paper, the FDA advises doctors to, inter alia, “[r]ecognize that in most cases POP can be treated

successfully without mesh thus avoiding the risk of mesh related complications,” The White

Paper concludes by stating that the FDA “has identified serious safety and effectiveness concerns

over the use of surgical mesh for the transvaginal repair of pelvic organ prolapse.”

            25.   On August 25, 2011, Public Citizen, a consumer advocacy group, submitted a

petition to the FDA seeking to ban the use of Pelvic Mesh Products in pelvic repair procedures,

In its Petition, Public Citizen warned that Pelvic Mesh Products should be recalled because they

offer no significant benefits, but expose patients to serious risks and the potential for permanent

life-altering harm. Joining Public Citizen as co-petitioners were Dr. L. Lewis Wall, a professor of

obstetrics and gynecology at Washington University in St. Louis, and Dr. Daniel S. Elliott, a

urologic surgeon specializing in female urology at the Mayo Clinic in Rochester, Minnesota.

            26.   In a December 2011 Joint Committee Opinion, the American College of




1873646.1                                         -6-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 7 of 35



Obstetricians and Gynecologists (“ACOG”) and the American Urogynecologic Society

(“AUGS”) also identified physical and mechanical changes to the transvaginal mesh inside the

body as a serious complication associated with transvaginal mesh, stating:

                  There are increasing reports of vaginal pain associated with
                  changes that can occur with mesh (contraction, retraction, or
                  shrinkage) that result in taut sections of mesh . . . Some of these
                  women will require surgical intervention to correct the condition,
                  and some of the pain appears to be intractable.

            27.   The ACOG/AUGS Joint Committee Opinion also recommended, among other

things, that “[p]elvic organ prolapse vaginal mesh repair should be reserved for high-risk

individuals in whom the benefit of mesh placement may justify the risk.”

            28.   As is known to the Defendant, the risks associated with POP repair are the same

as risks associated with SUI repair. However, the data regarding the magnitude and frequency of

these known risks are not as developed as the data on POP repair. The FDA recognized this, as

demonstrated by its Section 522 Orders issued to manufacturers of Pelvic Mesh Products used to

treat SUI in January of 2012.

            29.   In September 2011, the FDA acknowledged the need for additional data and noted

in “Surgical Mesh For Treatment of Women with Pelvic Organ Prolapse and Stress Urinary

Incontinence” that the literature and information developing on SUI repair with Pelvic Mesh

Products “indicate[] that serious complications can occur ... [and] a case can be made for

additional premarket and/or post market studies to better address the risk/benefit of all mesh

products used for SUL.”

            30.   Defendant did not, and has not, adequately studied the extent of the risks

associated with the SUI repair Products. In January 2012, the FDA recognized the risk to women

and mandated additional studies to further investigate these risks associated with the Products

used to repair SUIs..



1873646.1                                          -7-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 8 of 35



            31.   Defendant knew or should have known that its Pelvic Mesh Products

unreasonably exposed patients to the risk of serious harm while conferring no benefit over

available feasible alternatives that do not involve the same risks. At the time Defendant began

marketing its Pelvic Mesh Products, Defendant was aware that its Pelvic Mesh Products were

associated with each and every one of the adverse events communicated by the FDA in its July

13, 2011, safety communication. Despite claims that polypropylene mesh is inert, the scientific

evidence shows that this material as implanted in the Plaintiff set forth below is biologically

incompatible with human tissue. When used as a woven or knitted alloplastic textile prosthetic

mesh for pelvic floor repair, polypropylene and other surgical polymers promote a severe foreign

body reaction and chronic inflammatory response in a large subset of the population implanted

with Defendant’s Pelvic Mesh Products. This “host defense response” by a woman’s pelvic

tissues promotes degradation of the polypropylene mesh and the pelvic tissue, causes chronic

int1ammation of the pelvic tissue, causes shrinkage or contraction of the mesh leading to nerve

entrapment, further inflammation, chronic infectious response and chronic pain, cause new-onset

painful sexual relations, significant urinary dysfunction, vaginal shortening and anatomic

deformation, and can contribute to the formation of severe adverse reactions to the

polypropylene mesh.

            32.   The FDA defines both “degradation” and “fragmentation” as “device

problems” to which the FDA assigns a specific “device problem code.” “Material

Fragmentation” is defined as an “[i]ssue associated with small pieces of the device breaking

off unexpectedly” and “degraded” as an “[i]ssue associated with a deleterious change in the

chemical structure, physical properties, or appearance in the materials that are used in device

construction.”




1873646.1                                       -8-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 9 of 35



            33.   Complications from mesh placement for pelvic organ prolapse include among

other adverse events: acute and chronic infection, tissue contraction due to mesh shrinkage,

erosion of the mesh into adjacent structures, and dyspareunia. 15 Cosson, M., et al., Mechanical

properties of synthetic implants used in the repair of prolapse and urinary incontinence in women:

which is the ideal material? Int Urogynecol J Pelvic Floor Dysfunct, 2003. 14(3): p. 169-78;

discussion 178. Jones, K.A., et al., Tensile properties of commonly used prolapse meshes. Int

Urogynecol J Pelvic Floor Dysfunct, 2009. 20(7): p. 847-53. Margulies, R.U., et al., Complications

requiring reoperation following vaginal mesh kit procedures for prolapse. Am J Obstet Gynecol,

2008. 199(6): p. 678 e1-4.

            34.   The Products were unreasonably susceptible to degradation and fragmentation

inside the body; shrinkage or contraction inside the body; intense foreign body reaction;

chronic inflammatory response; chronic wound healing; chronic infections in and around the

mesh fibers; nerve entrapment in the collagen scar formation. Defendant knew or should

have known of these serious risks and should have, therefore, warned physicians and

patients regarding these risks; to the extent they were known or knowable.

            35.   To this day, the Products continue to be marketed to the medical community

and to patients as safe, effective and reliable medical devices, implanted by safe, effective

and minimally invasive surgical techniques, and as safer and more effective as compared to

available feasible alternative treatments of pelvic organ prolapse and stress urinary

incontinence, and other competing products.

            36.   Defendant omitted and downplayed the risks, dangers, defects, and disadvantages

of the Products, and advertised, promoted, marketed, sold and distributed the Products as safe

medical devices when Defendant knew or should have known that the Products were not safe for

their intended purposes, and that the Products would cause, and did cause, serious medical




1873646.1                                        -9-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 10 of 35



problems, and in some patients, including the Plaintiff, catastrophic injuries. Further, while some

of the problems associated with the Products were made known to physicians, the magnitude and

frequency of these problems were not disclosed and were hidden from physicians.

            37.   Contrary to Defendant’s representations and marketing to the medical community

and to the patients themselves, the Products have high rates of failure, injury, and complications,

fail to perform as intended, require frequent and often debilitating re-operations, and have caused

severe and irreversible injuries, conditions, and damage to a significant number of women,

including the Plaintiff, making them defective under the law.

            38.   The specific nature of the Products’ defects includes, but is not limited to, the

following:

                  a.     The use of polypropylene in the Products and the adverse tissue reactions

                         and host defense response that result from such material, causing adverse

                         reactions and serious, permanent injuries including, but not limited to,

                         painful recurrent erosions and associated intractable pain;

                  b.     The design of the Products to be inserted into and through an area of the

                         body that is blood vessel rich, nerve dense, and bacteria laden leading to

                         excessive blood loss and vascular damage, permanent nerve injury and

                         associated chronic, intractable neuropathic pain, contaminated

                         permanently-implanted mesh causing chronic infections, subclinical

                         infections and biofilms, enhanced chronic inflammatory response, chronic

                         wound healing with tissue destruction, as well as numerous other adverse

                         reactions and serious and permanent injuries;

                  c.     Biomechanical issues with the design of the Products which result in a




1873646.1                                          -10-
            Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 11 of 35



                      nonanatomic condition leading to contraction or shrinkage of the mesh

                      inside the body, that in turn causes surrounding tissue to become eroded,

                      inflamed, fibrotic and infected, resulting in serious and permanent injury;

                d.    The propensity of the mesh design characteristics of the Products for

                      plastic deformation when subjected to tension both during implantation

                      and once implanted inside the body which causes the mesh, or portions

                      thereof, to be encapsulated in a rigid scar plate which leads to nerve

                      entrapment, bacterial entrapment, tissue destruction, enhanced

                      inflammatory and fibrotic response and chronic pain;

                e.    The propensity of the Products to become rigid and inflexible, causing

                      them to be improperly mated to the delicate and sensitive areas of the

                      vagina and pelvis where they are implanted, and causing discomfort and

                      pain with normal daily activities that involve movement in the pelvic

                      region (e.g., intercourse, defecation, walking);

                f.    The propensity of the Products for degradation or fragmentation over time,

                      which causes an increased surface area that leads to enhanced chronic

                      inflammatory and fibrotic reaction, causes a “barbed wire” or “saw blade”

                      effect by the fragmented surface “sawing” through the tissue, leads to

                      bacteria harboring in the fragmented, peeled and split fiber surface which

                      in tum leads to chronic infections at the mesh surface, and results in

                      continuing injury over time;

                g.    The hyper-inflammatory responses to collagen leading to problems

                      including chronic inflammatory response, chronic pain and fibrotic




1873646.1                                      -11-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 12 of 35



                         reaction as well as infections and other serious adverse events;

                  h.     The propensity of the collagen products to disintegrate after implantation

                         in the female pelvis, causing pain and other adverse reactions;

                  i.     The harshness of collagen upon the female pelvic tissue, and the hardening

                         of the product in the body; and

                  j.     The inability of surgeons to effectively treat many of these conditions due

                         to the integration of the mesh into the pelvic tissue and thus the inability to

                         safely remove or excise the mesh once a complication occurs;

            39.   The Products are also defective due to Defendant’s failure to adequately warn or

instruct the Plaintiff and/or her health care providers of subjects including, but not limited to, the

following:

                  a.     The Products’ propensities to contract, retract, and/or shrink inside the

                         body;

                  b.     The Products’ propensities for degradation, fragmentation aid/or

                         migration;

                  c.     The Products’ inelasticity preventing proper mating with the pelvic floor

                         and vaginal region;

                  d.     The frequency and manner of transvaginal mesh erosion or extrusion;

                  e.     The risk of chronic inflammation resulting from the Products;

                  f.     The risk of chronic infections resulting from the Products;

                  g.     The risk of permanent vaginal or pelvic scarring as a result of the

                         Products;

                  h.     The risk of de novo urinary dysfunction;




1873646.1                                         -12-
            Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 13 of 35



                i.    The risk of de novo dyspareunia or painful sexual relations;

                j.    The risk of recurrent, intractable pelvic pain and other pain resulting from

                      the Products;

                k.    The need for corrective or revision surgery to adjust or remove the

                      Products which in some cases is not feasible nor possible;

                l.    The severity of complications that could arise as a result of implantation of

                      the Products;

                m.    The hazards associated with the Products;

                n.    The Products’ defects described herein;

                o.    Treatment of pelvic organ prolapse and stress urinary incontinence with

                      the Products is no more effective than feasible, available and safer

                      alternatives;

                p.    Treatment of pelvic organ prolapse and stress urinary incontinence with

                      the Products exposes patients to greater risk than feasible, available and

                      safer alternatives;

                q.    Treatment of pelvic organ prolapse and stress urinary incontinence with

                      the Products makes future surgical repair more difficult than feasible,

                      available and safer alternatives;

                r.    Use of the Products puts the patient at greater risk of requiring additional

                      surgery than feasible, available and safer alternatives;

                s.    Removal of the Products due to complications may involve multiple

                      surgeries and may significantly impair the patient’s quality of life; and

                t.    Complete removal of the Products may not be possible and may not result




1873646.1                                      -13-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 14 of 35



                         in complete resolution of the complications, including pain.

            40.   As a result of these life-altering and, in some cases, permanent injuries, Plaintiff

has suffered severe emotional pain and injury and has suffered and will suffer apprehension of

increased risk for injuries, infections, pain, mental anguish, discharge, and multiple corrective

surgeries as a result of implantation of mesh.

            41.   Defendant underreported and continues to underreport information about the

propensity of the Products to fail and cause injury and complications, and has made unfounded

representations regarding the efficacy and safety of the Products through various means and

media.

            42.   Defendant failed to perform proper and adequate testing and research in order to

determine and evaluate the nature, magnitude and frequency of the risks attendant to the

Products.

            43.   Defendant failed to design and establish a safe, effective procedure for removal of

the Products, or to determine if a safe, effective procedure for removal of the Products exists.

            44.   Feasible, suitable and safer alternatives to the Products have existed at all times

relevant that do not present the same frequency or severity of risks as do the Products.

            45.   The Products were at all times utilized and implanted in a manner foreseeable to

Defendant, as Defendant generated the instructions for use, created the procedures for implanting

the devices, and trained the implanting physician.

            46.   Defendant knowingly provided incomplete and insufficient training and

information to physicians regarding the use of the Products and the aftercare of patients

implanted with the Product.

            47.   As a result of these life-altering and, in some cases, permanent injuries, Plaintiff




1873646.1                                          -14-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 15 of 35



has suffered severe emotional pain and injury and has suffered and will suffer apprehension of

increased risk for injuries, infections, pain, mental anguish, discharge, and multiple corrective

surgeries as a result of implantation of mesh.

            48.   The Product implanted in the Plaintiff was in the same or substantially similar

condition as it was when it left Defendant’s possession, and in the condition directed by and

expected by the Defendant. The injuries, conditions, and complications suffered by numerous

women around the world who have been implanted with the Products include, but are not limited

to, erosion, mesh contraction, infection, fistula, inflammation, scar tissue, organ perforation,

dyspareunia (pain during sexual intercourse), urinary dysfunction, blood loss, neuropathic and

other acute and chronic nerve damage and pain, pudendal nerve damage, pelvic floor damage,

and chronic pelvic pain. As a result of these life-altering and, in some cases, permanent injuries,

Plaintiff has suffered severe emotional pain and injury and has suffered and will suffer

apprehension of increased risk for injuries, infections, pain, mental anguish, discharge, and

multiple corrective surgeries as a result of implantation of Pelvic Mesh Products.

            49.   In many cases, including the Plaintiff, women have been forced to undergo

extensive medical treatment including, but not limited to, operations to locate and remove mesh,

operations to attempt to repair pelvic organs, tissue, and nerve damage, the use of pain control

and other medications, injections into various areas of the pelvis, spine, and the vagina, and

operations to remove portions of the female genitalia.

            50.   The medical and scientific literature studying the effects of the Products, like that

of the Product implanted in the Plaintiff, has examined each of these injuries, conditions, and

complications, and has reported that they are causally related to the Products.

            51.   Removal of contracted, eroded and/or infected transvaginal mesh can require




1873646.1                                          -15-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 16 of 35



multiple surgical interventions for removal of mesh and results in scarring on fragile

compromised pelvic tissue and muscles.

            52.   At all relevant times herein, Defendant continued to promote the Products as safe

and effective even when no clinical trials had been done supporting long- or short-term efficacy

or safety.

            53.   In doing so, Defendant failed to disclose the known risks and failed to warn of

known or scientifically knowable dangers and risks associated with the Products, including the

magnitude and frequency of these risks.

            54.   At all relevant times herein, Defendant failed to provide sufficient warnings and

instructions that would have put the Plaintiffs and the general public on notice of the dangers and

adverse effects caused by implantation of the Products.

            55.   The Products as designed, manufactured, distributed, sold and/or supplied by

Defendant were defective as marketed due to inadequate warnings, instructions, labeling and/or

inadequate testing in the presence of Defendant’s knowledge of lack of safety.

            56.   The injuries, conditions, and complications suffered by numerous women around

the world who have been implanted with the Products include, but are not limited to, erosion,

mesh contraction, infection, fistula, inflammation, scar tissue, organ perforation, dyspareunia

(pain during sexual intercourse), blood loss, neuropathic and other acute and chronic nerve

damage and pain, pudendal nerve damage, pelvic floor damage, chronic pelvic pain, emotional

distress and mental anguish, and other debilitating complications. In addition, Plaintiff will need

to be continuously monitored as a result of being implanted with Defendant’s Product. A

monitoring procedure exists for individuals experiencing physical and mental injuries from mesh

implanted in patients with pelvic organ prolapsed and/or stress urinary incontinence. The




1873646.1                                         -16-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 17 of 35



monitoring procedure has been prescribed by a qualified physician and is reasonably necessary

according to contemporary scientific principles. As such, Plaintiff is entitled to future medical

monitoring and treatment directly related to the existing injuries caused by the defective

products.

            57.   In many cases, including the Plaintiff, the women have been forced to undergo

extensive medical treatment, including, but not limited to, operations to locate and remove mesh,

operations to attempt to repair pelvic organs, tissue, and nerve damage, the use of pain control

and other medications, injections into various areas of the pelvis, spine, and the vagina, and

operations to remove portions of the female genitalia.

            58.   The medical and scientific literature studying the effects of Defendant’s Pelvic

Mesh Products, like that of the product(s) implanted in the Plaintiff, has examined each of these

injuries, conditions, and complications, and has reported that they are causally related to the

Products.

            59.   Removal of contracted, eroded and/or infected transvaginal mesh can require

multiple surgical interventions for removal of mesh and results in scarring on fragile

compromised pelvic tissue and muscles.

            60.   At all relevant times herein, Defendant continued to promote the Products as safe

and effective even when no clinical trials had been done supporting long- or short-term efficacy.

            61.   In doing so, Defendant failed to disclose the known risks and failed to warn of

known or scientifically knowable dangers and risks associated with the Products.

            62.   At all relevant times herein, Defendant failed to provide sufficient warnings and

instructions that would have put the Plaintiffs and the general public on notice of the dangers and

adverse effects caused by implantation of the Products.




1873646.1                                         -17-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 18 of 35



            63.   The Products as designed, manufactured, distributed, sold and/or supplied by

Defendant were defective as marketed due to inadequate warnings, instructions, labeling and/or

inadequate testing in the presence of Defendant’s knowledge of lack of safety.

V.          THE DISCOVERY RULE AND TOLLING OF LIMITATIONS PERIODS
            APPLY.

            64.   Prescribing physicians, healthcare providers and Plaintiff, neither knew, nor had

reason to know at the time the mesh product was implanted in her body, that the product had the

aforementioned defects. Ordinary consumers such as Plaintiff would not have recognized the

potential risks or side effects, which Defendants concealed through promotion of its Products as

safe and effective for treating stress urinary incontinence and pelvic organ prolapse.

            65.   At all times herein mentioned, due to Defendant’s marketing of the Products and

Defendant’s failures to correct the same, the Product was prescribed and implanted as intended

by Defendant and in a manner reasonably foreseeable to Defendant. Defendant knew or should

have known that consumers, such as Plaintiff, would foreseeably suffer injury as a result of

Defendant’s failures to exercise reasonable care.

            66.   Plaintiffs file this lawsuit within the applicable limitations period of first

suspecting that Defendant’s wrongful conduct caused her to suffer an appreciable harm. Plaintiff

could not, by the exercise of reasonable diligence, have discovered the wrongful conduct that

caused her injuries at an earlier time. Plaintiff did not suspect, nor did Plaintiff have reason to

suspect, the tortious nature of the conduct causing her injuries until a short time before filing of

this action. Additionally, Plaintiff was prevented from discovering this information sooner

because: (1) Defendant has misrepresented to the public and to the medical community that its

Products are safe for the treatment of stress urinary incontinence and pelvic organ prolapse; and

(2) Defendants fraudulently concealed facts and information that could have led Plaintiff to




1873646.1                                           -18-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 19 of 35



discover a potential cause of action.

            67.   The discovery rule tolls the running of the statute of limitations until Plaintiff

knew, or in the exercise of reasonable care and due diligence should have known, of fact

indicating that Plaintiff had been injured, the cause of the injury, and the tortious nature of the

wrongdoing that caused the injury.

VI.         CASE SPECIFIC ALLEGATIONS

            68.   The Plaintiff underwent transvaginal surgery on or about September 23, 2013, at

which time the Boston Scientific Lynx Suprapubic Mid-Urethral Sling System was implanted.

            69.   Plaintiff has suffered significant pain, unnecessary expense, embarrassment,

disfigurement and harm as a result of the implant of Defendant’s defective Product.

            70.   Plaintiff may have to undergo additional surgery in the future and may continue

to suffer significant pain, unnecessary medical expense for medical care, treatment and therapies

long into the future.

            71.   Plaintiff has sustained and will continue to sustain severe and debilitating injuries,

serious bodily injury, mental and physical pain and suffering and has incurred economic loss,

which losses may continue far into the future.

VII.        CAUSES OF ACTION

   COUNT I: PRODUCT LIABILITY- DEFECTIVE MANUFACTURE AND DESIGN

            72.   Plaintiffs incorporate by reference each and every paragraph of this Complaint as

if fully set forth herein.

            73.   One or more of the defects in the Products are a result of improper or incorrect

manufacturing processes that result in the Products as manufactured deviating from its intended

design. The defects caused by improper or incorrect manufacturing rendered the Products

unreasonably dangerous, deficient, and defective to consumers and to Plaintiff. The defects in the



1873646.1                                          -19-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 20 of 35



Products implanted in Plaintiff existed from its manufacture therefore, the defects were present

when they left the possession and control of Boston Scientific.

            74.   Boston Scientific’s Pelvic Mesh Products were defective, unfit, unsafe, inherently

dangerous and unreasonably dangerous for their intended and reasonably foreseeable uses. These

Products were in said condition when they entered the stream of commerce and were received by

Plaintiff. The Products do not meet or perform to the expectations of patients and their health

care providers. Boston Scientific’s Products were dangerous to an extent beyond that which

would be contemplated by the ordinary consumer.

            75.   The Products create a risk to the health and safety of the patients that are far more

significant and devastating than the risks posed by other products and procedures available to

treat the corresponding medical conditions, and which far outweigh the utility of the Products.

            76.   Boston Scientific has intentionally and recklessly designed, manufactured,

marketed, labeled, sold and distributed the Products with wanton and willful disregard for the

health of the Plaintiff and others, and with malice, placing their economic interest above the

health and safety of the Plaintiff.

            77.   The Products used by Plaintiff’s physicians were not substantially changed,

modified, or altered at any time in any manner whatsoever prior to use. The subject Products

reached the Plaintiff in such a condition that was unreasonably dangerous to her. The Pelvic

Mesh Product was used in the manner for which it was intended. This use resulted in injuries and

harm to Plaintiff.

            78.   At no time did Plaintiff have reason to believe that the Pelvic Mesh Product was

in a condition not suitable for its proper and intended use among patients.

            79.   Plaintiff was not able to discover, nor could she have discovered through the




1873646.1                                         -20-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 21 of 35



exercise of reasonable care, the defect of the Products. Furthermore, in no way could Plaintiff

have known that Boston Scientific had manufactured the Product in such a way as to increase the

risk of harm or injury to the patient receiving the implant.

            80.   As a direct and proximate result of Boston Scientific’s wrongful conduct,

including Boston Scientific’s design, manufacture, labeling, marketing, sale and distribution of

Pelvic Mesh Products, Plaintiff has sustained and will continue to sustain severe and debilitating

injuries, serious bodily injury, mental and physical pain and suffering, and has incurred

economic loss.

            WHEREFORE, Plaintiffs demand judgment against the Defendant and request

compensatory damages together with interest, costs of suit, attorneys’ fees, and such further

relief as the Court deems equitable and just.

                   COUNT II: PRODUCT LIABILITY -FAILURE TO WARN

            81.   Plaintiffs incorporate by reference each and every paragraph of this Complaint as

if fully set forth herein.

            82.   The Products were defective by reason of failure of Boston Scientific to provide

an adequate warning or instructions.

            83.   Boston Scientific failed to properly and adequately warn and instruct the Plaintiff

and/or her health care providers as to the risks and benefits of Boston Scientific’s Pelvic Mesh

Products.

            84.   Boston Scientific failed to properly and adequately warn and instruct the Plaintiff

and/or her health care providers with regard to the inadequate research and testing of the Pelvic

Mesh Products, and the lack of a safe, effective procedure for removal of the Products,

            85.   Boston Scientific failed to provide such adequate warning or instruction that a




1873646.1                                         -21-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 22 of 35



manufacturer exercising reasonable care would have provided to physicians who implanted the

Products or to the women who had been implanted with the Products, concerning the following

risks, Boston Scientific had actual or constructive knowledge of the following risks at the time

the Products left Boston Scientific’s control and were being marketed:

                  a.     The high failure rate of the Products;

                  b.     The high rate of infection and abscesses caused by the Products;

                  c.     The high rate of vaginal erosions and extrusions caused by the Products;

                  d.     The high rate of chronic pain caused by the Products;

                  e.     The necessity to remove the Products from the patient’s body in the event

                         of product failure, infections, abscesses, erosion, extrusion, or other

                         complications; and

                  f.     The difficulty in removing the Products from the patient’s body, including

                         the complete lack of a safe, effective procedure for removal of the Pelvic

                         Mesh Products,

            86.   After receiving notices of numerous bodily injuries resulting from the Products,

Boston Scientific failed to provide such post-marketing or post-sale warnings or instructions that

a manufacturer exercising reasonable care should have provided to physicians who implanted the

Products or those women who had been implanted with the Products that the products were

causing an unreasonably high rate of complications such as mesh erosion, extrusion/protrusion,

chronic pain, mesh contraction, infection, abscesses, fistula, inflammation, scar tissue, organ

perforation, dyspareunia, bleeding, neuropathic and other acute and chronic nerve damage and

pain, vaginal scarring, vaginal shrinkage, pelvic floor damage, pelvic pain, urinary and fecal

problems, and prolapse organs. Furthermore, Boston Scientific failed to provide post-marketing




1873646.1                                         -22-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 23 of 35



or post­ sale warnings or instructions concerning the necessity to remove the Products from the

patient’s body in the event of the product failure or other complications.

            87.   Boston Scientific intentionally, recklessly, and maliciously misrepresented the

safety, risks and benefits of the Boston Scientific Pelvic Mesh Products, understating the risks

and exaggerating the benefits in order to advance their own financial interests, with wanton and

willful disregard for the rights and health of the Plaintiffs.

            88.   Absence of a warning or instruction renders the product unreasonably dangerous

for its intended use.

            89.   Boston Scientific is strictly liable in tort to the Plaintiffs for their wrongful

conduct pursuant to common law.

            90.   As a direct and proximate result of Boston Scientific’s wrongful conduct,

including Boston Scientific’s wrongful design, manufacture, marketing, sale and distribution of

the Pelvic Mesh Products, both at the time of marketing and after the sale of the Products,

Plaintiff has sustained and will continue to sustain severe and debilitating injuries, serious bodily

injury, mental and physical pain and suffering and has incurred economic loss.

            WHEREFORE, Plaintiffs demand judgment against Defendant and request compensatory

damages together with interest, costs of suit, attorneys’ fees, and such further relief as the Court

deems equitable and just.

                                     COUNT III: NEGLIGENCE

            91.   Plaintiffs incorporate by reference each and every paragraph of this Complaint as

if fully set forth herein.

            92.   Defendant had a duty to individuals, including Plaintiffs, to use reasonable care in

designing, researching, manufacturing, marketing, labeling, packaging, supplying, distributing




1873646.1                                           -23-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 24 of 35



and selling the Products.

            93.   Defendant was negligent in failing to use reasonable care as described herein in

designing, manufacturing, marketing, labeling, packaging and selling the Products. Defendant

breached its duty by:

                  a.     Failing to design the Products so as to avoid unreasonable risk of harm to

                         women in whom the Products were implanted, including Plaintiff;

                  b.     Failing to manufacture the Products so as to avoid an unreasonable risk of

                         harm to women in whom the Products were implanted, including Plaintiff;

                  c.     Failing to use reasonable care in the testing of the Products so as to avoid

                         an unreasonable risk of harm to women in whom the Products were

                         implanted, including Plaintiff;

                  d.     Failing to use reasonable care in inspecting the Products so as to avoid an

                         unreasonable risk of harm to women in whom the Products were

                         implanted, including Plaintiff;

                  e.     Otherwise negligently or carelessly designing, manufacturing, marketing,

                         labeling, packaging and/or selling the Products.

            94.   The reasons that Defendant’s negligence caused the Products to be unreasonably

dangerous and defective include, but are not limited to:

                  a.     the use of polypropylene material in the Products and the immune reaction

                         that results from such material, causing adverse reactions and injuries;

                  b.     the design of the Products to be inserted into and through an area of the

                         body with high levels of bacteria that adhere to the mesh causing immune

                         reactions and subsequent tissue breakdown and adverse reactions and




1873646.1                                         -24-
            Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 25 of 35



                      injuries;

                c.    biomechanical issues with the design of the Products, including, but not

                      limited to, the propensity of the Products to contract or shrink inside the

                      body, that in turn cause surrounding tissue to be inflamed, become

                      fibrotic, and contract, resulting in injury;

                d.    the use and design of arms and anchors in the Products, which, when

                      placed in the women, are likely to pass through contaminated spaces and

                      injure major nerve routes in the pelvic region;

                e.    the propensity of the Products for migration or to gradually elongate and

                      deform when subject to prolonged tension inside the body;

                f.    the inelasticity of the Products, causing them to be improperly mated to

                      the delicate and sensitive areas of the pelvis where they are implanted, and

                      causing pain upon normal daily activities that involve movement in the

                      pelvis (e.g., intercourse, defecation);

                g.    the propensity of the Products for degradation or fragmentation over time,

                      which causes a chronic inflammatory and fibrotic reaction, and results in

                      continuing injury over time;

                h.    the propensity of the Products to cause long standing inflammatory

                      response altering the effective porosity of the mesh resulting in poor

                      outcomes including bridging fibrosis, compromise of tissues in contact

                      with or surrounding the mesh, erosion, nerve damage and resulting

                      neuromas; and

                i.    the creation of a non-anatomic condition in the pelvis leading to chronic




1873646.1                                       -25-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 26 of 35



                         pain and functional disabilities when the mesh is implanting according to

                         the manufacturers’ instructions.

            95.   Defendant also negligently failed to warn or instruct the Plaintiff and/or her health

care providers of subjects including, but not limited to, the following:

                  a.     The Products’ propensities to contract, retract, and/or shrink inside the

                         body;

                  b.     The Products’ propensities for degradation, fragmentation and/or

                         migration;

                  c.     The Products’ inelasticity preventing proper mating with the pelvic floor

                         and vaginal region;

                  d.     The frequency and manner of mesh erosion or extrusion;

                  e.     The risk of chronic inflammation resulting from the Products;

                  f.     The risk of chronic infections resulting from the Products;

                  g.     The risk of permanent vaginal or pelvic scarring as a result of the

                         Products;

                  h.     The risk of de novo urinary dysfunction;

                  i.     The risk of de novo dyspareunia or painful sexual relations;

                  j.     The risk of recurrent, intractable pelvic pain and other pain resulting from

                         the Products;

                  k.     The need for corrective or revision surgery to adjust or remove the

                         Products which in some cases is not feasible nor possible;

                  l.     The severity of complications that could arise as a result of implantation of

                         the Products;




1873646.1                                         -26-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 27 of 35



                  m.     The hazards associated with the Products;

                  n.     The Products’ defects described herein;

                  o.     Treatment of pelvic organ prolapse and stress urinary incontinence with

                         the products is no more effective than feasible, available and safer

                         alternatives;

                  p.     Treatment of pelvic organ prolapse and stress urinary incontinence with

                         the Products exposes patients to greater risk than feasible, available and

                         safer alternatives;

                  q.     Treatment of pelvic organ prolapse and stress urinary incontinence with

                         the Products makes future surgical repair more difficult than feasible,

                         available and safer alternatives;

                  r.     Use of the Products puts the patient at greater risk of requiring additional

                         surgery than feasible, available and safer alternatives;

                  s.     Removal of the Products due to complications may involve multiple

                         surgeries and may significantly impair the patient’s quality of life; and

                  t.     Complete removal of the Products may not be possible and may not result

                         in complete resolution of the complications, including pain.

                  u.     As a result of these life-altering and, in some cases, permanent injuries,

                         Plaintiff has suffered severe emotional pain and injury and has suffered

                         and will suffer apprehension of increased risk for injuries, infections, pain,

                         mental anguish, discharge, and multiple corrective surgeries as a result of

                         implantation of mesh.

            96.   Defendant likewise failed to conduct post-market vigilance or surveillance by:




1873646.1                                         -27-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 28 of 35



                  a.     Monitoring or acting on findings in the scientific and medical literature;

                  b.     Monitoring or investigating and evaluating reports in the FDA adverse

                         event databases for their potential significance for Defendant’s Pelvic

                         Mesh Products; and

                  c.     Failing to comply with manufacturer requirements of the Medical Device

                         Reporting (MDR) Regulations, specifically:

                         i.      Failing to report MDRs (Medical Device [adverse event] Reports);

                                 and

                         ii.     Failing to investigate reports of serious adverse events.

            97.   As a direct and proximate result of Defendant’s negligence, Plaintiff has

experienced significant mental and physical pain and suffering, has sustained permanent injury,

has undergone medical treatment and will likely undergo further medical treatment and

procedures, has suffered financial or economic loss, including, but not limited to, obligations for

medical services and expenses, lost income, and other damages.

            WHEREFORE, Plaintiffs demand judgment against Defendant and request compensatory

damages together with interest, costs of suit, attorneys’ fees, and such further relief as the Court

deems equitable and just.

                       COUNT IV: BREACH OF EXPRESS WARRANTY

            98.   Plaintiffs incorporate by reference each and every paragraph of this Complaint as

if fully set forth herein.

            99.   Defendant made assurances as described herein to the general public, hospitals

and health care professionals that the Products were safe and reasonably fit for their intended

purposes.




1873646.1                                         -28-
            Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 29 of 35



            100.   Plaintiff and/or her healthcare provider chose the Product based upon Defendant’s

warranties and representations as described herein regarding the safety and fitness of the Product.

            101.   Plaintiff, individually and/or by and through her physician, reasonably relied upon

Defendant’s express warranties and guarantees that the Products were safe, merchantable, and

reasonably fit for their intended purposes.

            102.   Defendant breached these express warranties because the Product implanted in

Plaintiff was unreasonably dangerous and defective as described herein and not as Defendant had

represented.

            103.   Defendant’s breach of their express warranties resulted in the implantation of an

unreasonably dangerous and defective product in the body of the Plaintiff, placing said Plaintiff’s

health and safety in jeopardy.

            104.   As a direct and proximate result of Defendant’s breach of the aforementioned

express warranties, the Plaintiff has experienced significant mental and physical pain and

suffering, has sustained permanent injury, has undergone medical treatment and will likely

undergo further medical treatment and procedures, has suffered financial or economic loss,

including, but not limited to, obligations for medical services and expenses, and/or lost income,

and other damages.

            WHEREFORE, Plaintiffs demand judgment against Defendant and request compensatory

damages together with interest, costs of suit, attorneys’ fees, and such further relief as the Court

deems equitable and just.

                         COUNT V: BREACH OF IMPLIED WARRANTY

            105.   Plaintiffs incorporate by reference each and every paragraph of this Complaint as

if fully set forth herein.




1873646.1                                         -29-
            Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 30 of 35



            106.   Defendant impliedly warranted that the Products were merchantable and were fit

for the ordinary purposes for which they were intended,

            107.   When the Products were implanted in the Plaintiff to treat her pelvic organ

prolapse and/or stress urinary incontinence, the Product was being used for the ordinary purposes

for which they were intended,

            108.   The Plaintiff, individually and/or by and through her physician, relied upon

Defendant’s implied warranties of merchantability in consenting to have the Products implanted

in her,

            109.   Defendant breached these implied warranties of merchantability because the

Product implanted in the Plaintiff was neither merchantable nor suited for their intended uses as

warranted.

            110.   Defendant’s breach of their implied warranties resulted in the implantation of

unreasonably dangerous and defective Product in the body of the female Plaintiff, placing said

Plaintiff’s health and safety in jeopardy.

            111.   As a direct and proximate result of Defendant’s breach of the aforementioned

implied warranties, the Plaintiff has experienced significant mental and physical pain and

suffering, has sustained permanent injury, has undergone medical treatment and will likely

undergo further medical treatment and procedures, has suffered financial or economic loss,

including, but not limited to, obligations for medical services and expenses, and/or lost income,

and other damages.

            WHEREFORE, Plaintiffs demand judgment against Defendant and request compensatory

damages together with interest, costs of suit, attorneys’ fees, and such further relief as the Court

deems equitable and just.




1873646.1                                         -30-
            Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 31 of 35



                       COUNT VI: NEGLIGENT MISREPRESENTATION

            112.   Plaintiffs incorporate by reference each and every paragraph of this Complaint as

if fully set forth herein.

            113.   Defendant had a duty to accurately and truthfully represent to the medical and

healthcare community, Plaintiffs, and the public, that the Pelvic Mesh Products had not been

adequately tested and found to be safe and effective for the treatment of incontinence and

prolapse. The representations made by Defendant, in fact, were false.

            114.   Defendant failed to exercise ordinary care in the representations concerning the

Pelvic Mesh Products while they were involved in their manufacture, sale, testing, quality

assurance, quality control, and distribution in interstate commerce, because Defendant

negligently misrepresented the Pelvic Mesh Products’ high risk of unreasonable, dangerous,

adverse side effects.

            115.   Defendant breached its duty in representing that the Defendant’s Pelvic Mesh

Products have no serious side effects different from older generations of similar products and/or

procedures to Plaintiff, Plaintiff’s physicians, and the medical and healthcare community.

            116.   As a foreseeable, direct and proximate result of the negligent misrepresentation of

Defendant as set forth herein, Defendant knew, and had reason to know, that the Pelvic Mesh

Products had been insufficiently tested, or had not been tested at all, and that they lacked

adequate and accurate warnings, and that they created a high risk, and/or higher than acceptable

risk, and/or higher than reported and represented risk, of adverse side effects, including, erosion,

pain and suffering, surgery to remove the Products, and other severe and personal injuries, which

are permanent and lasting in nature.

            117.   As a direct and proximate result of the Defendant’s conduct, Plaintiff has been




1873646.1                                          -31-
            Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 32 of 35



injured, and sustained severe and permanent pain, suffering, disability, impairment, loss of

enjoyment of life, loss of care, comfort, and consortium, economic damages, and death.

            WHEREFORE, Plaintiffs demand judgment against Defendant and request compensatory

damages together with interest, costs of suit, attorneys’ fees, and such further relief as the Court

deems equitable and just.

     COUNT VII: UT CODE §13-11-18 UTAH CONSUMER SALES PRACTICE ACT

            118.   Plaintiffs incorporate all of the preceding paragraphs of this Complaint as if fully

set forth here and further alleges as follows:

            119.   Defendant knowingly and falsely represented that their Pelvic Mesh Products

were fit to be used for the purpose for which they were intended, when in fact they were

defective and dangerous.

            120.   Defendant’s knowingly false representations were made in marketing and

promotional materials.

            121.   Defendant had actual knowledge of the defective and dangerous condition of the

Pelvic Mesh Products and failed to take any action to cure such defective and dangerous

conditions.

            122.   Plaintiffs and the medical community relied upon Defendant's misrepresentations

and omissions in determining which product and/or procedure to undergo and/or perform.

            123.   Defendant's deceptive, unconscionable or fraudulent representations and material

omissions to patients, physicians and consumers, constituted unfair and deceptive acts and

practices and directly and proximately caused Plaintiffs to suffer damages.

            124.   As a direct and proximate result of Defendant’s knowingly false

misrepresentations, Plaintiff has experienced significant mental and physical pain and suffering,




1873646.1                                          -32-
            Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 33 of 35



has sustained permanent injury, has undergone medical treatment and will likely undergo further

medical treatment and procedures, has suffered financial or economic loss, including, but not

limited to, obligations for medical services and expenses, and/or lost income, and other damages.

            WHEREFORE, Plaintiffs demand judgment against Defendant for compensatory

damages together with interest, costs of suit, attorneys’ fees, and all such other relief as the Court

deems proper.

                                  COUNT VIII: LOSS OF CONSORTIUM

            131.   Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth

herein and further alleges as follows.

            132.   At all relevant times, Plaintiff, Adam D. Koford, has been lawfully married to

Plaintiff, Amy Koford, and, as such, is entitled to the services, society and companionship of his

spouse.

            133.   As a direct and proximate result of the foregoing, Plaintiff, Adam D. Koford has

suffered and will continue to suffer loss of love, companionship, comfort, care, assistance,

protection, affection, society, and moral support of his spouse, Plaintiff, Amy Koford; and the

loss of the enjoyment of sexual relations with his spouse, Plaintiff Amy Koford. Plaintiff, Adam

D. Koford’s injuries and damages are permanent and will continue into the future.

            WHEREFORE, Plaintiffs demand judgment against Defendant for compensatory

damages together with interest, costs of suit, attorneys’ fees, and all such other relief as the Court

deems proper.

                                       PRAYERS FOR RELIEF

            WHEREFORE, Plaintiffs pray for the following relief:

            A      Judgment in favor of Plaintiffs and against Defendant, for damages in such

amounts as may be proven at trial;



1873646.1                                           -33-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 34 of 35



            B.     Compensation for both economic and non-economic losses, including but not

limited to medical expenses, disfigurement, pain and suffering, mental anguish and emotional

distress, in such amounts as may be proven at trial;

            C.     Restitution and disgorgement of all revenue that Defendant has obtained through

the manufacture, marketing, sale and administration of the Pelvic Mesh Devices;

            D.     Attorneys’ fees and costs where applicable;

            E.     Pre-and post-judgment interest; and

            F.     Any and all further relief, both legal and equitable, that the Court may deem just

and proper.

                                            JURY DEMAND

            Plaintiffs hereby demand a trial by jury.



Dated: December 30, 2019                     Respectfully submitted,

                                             /s/ Paula S. Bliss
                                             Paula S. Bliss
                                             BERNHEIM DOLINSKY KELLEY
                                             Four Court Street
                                             Plymouth, MA 02360
                                             T: (617)420-0715

                                             Wendy R. Fleishman (pro hac vice)
                                             Sarah R. London (pro hac vice)
                                             LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
                                             250 Hudson Street, 8th Floor
                                             New York, New York 10013-1413
                                             Telephone: 212.355.9500
                                             Facsimile: 212.355.9592

                                             Attorneys for Plaintiffs




1873646.1                                           -34-
             Case 1:19-cv-12604-WGY Document 1 Filed 12/30/19 Page 35 of 35



                                     CERTIFICATE OF SERVICE

            I hereby certify that on December 30, 2019, I electronically filed the forgoing, with the

Clerk of Court using the CM/ECF system which will send notification of such filing to all

counsel of record.

                                             /s/ Paula S. Bliss
                                             Paula S. Bliss
                                             BERNHEIM DOLINSKY KELLEY
                                             Four Court Street
                                             Plymouth, MA 02360
                                             T: (617)420-0715

                                             Wendy R. Fleishman (pro hac vice)
                                             Sarah R. London (pro hac vice)
                                             LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
                                             250 Hudson Street, 8th Floor
                                             New York, New York 10013-1413
                                             Telephone: 212.355.9500
                                             Facsimile: 212.355.9592

                                             Attorneys for Plaintiffs




1873646.1                                           -35-
